

Matter of Ellie Jo L.H. (2018 NY Slip Op 00932)





Matter of Ellie Jo L.H.


2018 NY Slip Op 00932


Decided on February 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 9, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, DEJOSEPH, NEMOYER, AND TROUTMAN, JJ.


1357 CAF 17-00163

[*1]IN THE MATTER OF ELLIE JO L.H. MELISSA L. KOFFS, ESQ., ATTORNEY FOR THE CHILD, PETITIONER-RESPONDENT; DEBRA A.M., RESPONDENT-APPELLANT. (APPEAL NO. 1.) 






KATHY L. QUENCER, WATERTOWN, D.J. &amp; J.A. CIRANDO, ESQS., SYRACUSE (ELIZABETH deV. MOELLER OF COUNSEL), FOR RESPONDENT-APPELLANT.
MELISSA L. KOFFS, ATTORNEY FOR THE CHILD, CHAUMONT, PETITIONER-RESPONDENT. 


	Appeal from an order of the Family Court, Jefferson County (Peter A. Schwerzmann, A.J.), entered January 13, 2017 in a proceeding pursuant to Family Court Act article 10. The order, among other things, temporarily removed the subject child from respondent's care. 
It is hereby ORDERED that said order is unanimously vacated on the law without costs.
Same memorandum as in Matter of Ellie Jo L.H. ([appeal No. 3] — AD3d — [Feb. 9, 2018] [4th Dept 2018]).
Entered: February 9, 2018
Mark W. Bennett
Clerk of the Court








